                                Case 6:22-bk-03729-GER                   Doc 1        Filed 10/17/22           Page 1 of 12


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Yourway Hospitality LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA SpringHill Suites by Marriott Sanford
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  201 North Towne Rd
                                  Sanford, FL 32771
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Seminole                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                               Case 6:22-bk-03729-GER                       Doc 1         Filed 10/17/22           Page 2 of 12
Debtor    Yourway Hospitality LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                Case 6:22-bk-03729-GER                          Doc 1        Filed 10/17/22              Page 3 of 12
Debtor    Yourway Hospitality LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                        Case 6:22-bk-03729-GER                 Doc 1      Filed 10/17/22             Page 4 of 12
Debtor   Yourway Hospitality LLC                                                    Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
Case 6:22-bk-03729-GER   Doc 1   Filed 10/17/22   Page 5 of 12
                           Case 6:22-bk-03729-GER                        Doc 1       Filed 10/17/22            Page 6 of 12




Fill in this information to identify the case:

Debtor name         Yourway Hospitality LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 17, 2022                X
                                                             Signature of individual signing on behalf of debtor

                                                             Jay Patel
                                                             Printed name

                                                             Manager
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                             Case 6:22-bk-03729-GER                       Doc 1         Filed 10/17/22                Page 7 of 12


Fill in this information to identify the case:
Debtor name Yourway Hospitality LLC
United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                      Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Broadcast Music,          Jerome Kersting           Trade debt                                                                                                    $3,252.35
Inc. (BMI)
PO Box 630893             jkersting@bmi.com
Cincinnati, OH            888-492-6264
45263
Century Fire                                        Trade debt                                                                                                      $460.10
Protection
2450 Satellite Blvd.      (770) 945-2330
Duluth, GA 30096
CHUBB                                               Trade debt                                                                                                        $98.90
PO Box 1917               bprevost428@goto
Brattleboro, VT           service.chubb.com
05302
Driftwood                                           Management fees                                                                                             $11,923.45
Hospitality Mgmt          info@dhmhotels.co
11770 US One, Suite       m
202                       (561) 207-2700
North Palm Beach,
FL 33408-3026
Guardian Appleton                                   Trade debt                                                                                                      $691.93
PO Box 677458
Dallas, TX 75267          800-627-4208
Gulamali Jaffer                                     Insider note              Disputed                                                                      $8,634,361.74
3545 Rice Lake
Loop
Longwood, FL
32779
Hilton CocoaBeach                                   Trade debt                                                                                                    $1,116.36
Oceanfront
1550 N. Atlantic Ave.     (321) 799-0003
Cocoa Beach, FL
32931
Insight Direct USA        Jim Trevino               Trade debt                                                                                                    $1,254.65
PO Box 731069
Dallas, TX 75373          ach@insight.com
                          800-934-4477



Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                             Case 6:22-bk-03729-GER                       Doc 1         Filed 10/17/22                Page 8 of 12



Debtor     Yourway Hospitality LLC                                                                  Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Symetra Select                                      Trade debt                                                                                                      $665.79
Benefits
PO Box 56098              888-873-8205
Minneapolis, MN
55485
Sysco Central                                       Trade debt                                                                                                    $1,541.08
Florida, Inc.
PO Box 40                 800-797-2627
Ocoee, FL 34761




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                    Case 6:22-bk-03729-GER                                            Doc 1              Filed 10/17/22                         Page 9 of 12

Fill in this information to identify the case:

Debtor name           Yourway Hospitality LLC

United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $      14,800,000.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $         250,000.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $      15,050,000.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                  0.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       8,666,884.19


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $          8,666,884.19




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
                         Case 6:22-bk-03729-GER                          Doc 1         Filed 10/17/22             Page 10 of 12

                                                      United States Bankruptcy Court
                                                               Middle District of Florida
 In re    Yourway Hospitality LLC                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Gulamali Jaffer                                             N/A                   50%                                        Member
3545 Rice Lake Loop
Longwood, FL 32779

Jay Patel                                                   N/A                   50%                                        Member
410 Eagle Run Road
Newark, DE 19702


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date October 17, 2022                                                    Signature
                                                                                        Jay Patel

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
                       Case 6:22-bk-03729-GER                 Doc 1       Filed 10/17/22         Page 11 of 12




                                               United States Bankruptcy Court
                                                       Middle District of Florida
 In re   Yourway Hospitality LLC                                                                 Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     October 17, 2022
                                                         Jay Patel/Manager
                                                         Signer/Title
                    Case 6:22-bk-03729-GER   Doc 1       Filed 10/17/22   Page 12 of 12



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Yourway Hospitality LLC             Insight Direct USA
201 North Towne Rd                  PO Box 731069
Sanford, FL 32771                   Dallas, TX 75373




R.Scott Shuker, Esq                 Internal Revenue Service
Shuker & Dorris, P.A.               Centralized Insolvency Ops
121 S. Orange Avenue                PO Box 7346
Suite 1120                          Philadelphia, PA 19101-7346
Orlando, FL 32801

Broadcast Music, Inc. (BMI)         Jay Patel
PO Box 630893                       410 Eagle Run Road
Cincinnati, OH 45263                Newark, DE 19702




Century Fire Protection             Seminole Co. Tax Collector
2450 Satellite Blvd.                 P.O. Box 630
Duluth, GA 30096                    Sanford, FL 32772-0630




CHUBB                               Symetra Select Benefits
PO Box 1917                         PO Box 56098
Brattleboro, VT 05302               Minneapolis, MN 55485




Driftwood Hospitality Mgmt          Sysco Central Florida, Inc.
11770 US One, Suite 202             PO Box 40
North Palm Beach, FL 33408-3026     Ocoee, FL 34761




Guardian Appleton
PO Box 677458
Dallas, TX 75267




Gulamali Jaffer
3545 Rice Lake Loop
Longwood, FL 32779




Hilton CocoaBeach Oceanfront
1550 N. Atlantic Ave.
Cocoa Beach, FL 32931
